   Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 1 of 42 PageID #: 1




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Attorneys for Plaintiff
Emerson Radio Corporation


                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


EMERSON RADIO CORPORATION,

Plaintiff,
                                                   Civil Action No. _____________
        v.
                                                   VERIFIED COMPLAINT, DEMAND FOR
                                                   JURY TRIAL, AND RULE 11. 2
EMERSON QUIET KOOL CO. LTD. and                    CERTIFICATION
HOME EASY LTD.

Defendant.


        Plaintiff Emerson Radio Corporation (vOdYafla^^w gj vEmerson Radiow), with offices at 3

University Plaza, Suite 405, Hackensack, New Jersey 07601, by and through its undersigned



ME1 25281383v.1
   Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 2 of 42 PageID #: 2




attorneys, hereby alleges by way of Verified Complaint against Emerson Quiet Kool Co. Ltd.,

(also known as Emerson Quiet Kool Co, Ltd., LLC) and Home Easy Ltd., both with offices at

1275 Bloomfield Avenue, Unit 141, Building 16, Fairfield, New Jersey 07004 (collectively

j]^]jj]\ lg Yk vDPJw gj vC]^]f\Yflkw unless otherwise indicated), the following:

                            -$12/(!$-'!%$0+0!.)!1*(!$&1+.-!

        1.        This is an action by Emerson Radio lg hj]n]fl Yf\ j]kljYaf C]^]f\Yflkx

mfYml`gjar]\ Yf\ af^jaf_af_ eakYhhjghjaYlagf g^ De]jkgf QY\agxk o]dd-known and distinctive

DLDQRNM ljY\]eYjck+ Yf\ lg `Ydl C]^]f\Yflkx ^Ydk] Yf\ misleading marketing. Emerson

Radio has sold consumer goods and appliances for over 100 years under the EMERSON name

and trademark, garnering extensive and well-established goodwill in the minds of consumers and

a strong reputation for the high quality goods that Emerson Radio provides. Looking to trade on

the established goodwill of Emerson Radio, Defendants recently began selling and marketing a

line of air conditioning products using the mark EMERSON QUIET KOOL.                 In addition,

Defendants are marketing their products using express references to Emerson Radio and its long-

klYf\af_ `aklgjq+ ]n]f ^]Ylmjaf_ aeY_]k g^ De]jkgf QY\agxk ZjYf\]\ hjg\m[lk gf alk eYjc]laf_

materials in hopes of misleading consumers to believe that Defendants are somehow affiliated

with Emerson Radio.

        2.        Sg hj]n]fl l`ak af]nalYZd] [gf^mkagf Yf\ \][]hlagf g^ [gfkme]jk Yf\ C]^]f\Yflkx

oadd^md afl]fl lg ljY\] gf De]jkgf QY\agxk _gg\oadd+ De]jkgf QY\ag Zjaf_k l`ak Y[lagf Ykk]jlaf_

claims for trademark infringement pursuant to Section 32 of the Lanham Act (15 U.S.C. § 1114),

trademark infringement, unfair competition and false designation of origin pursuant to Section

43(a)(1)(A) of the Lanham Act (15 U.S.C. § 1125(a)(1)(A)), false advertising pursuant to

Section 43(a)(1)(B) of the Lanham Act (15 U.S.C. § 1125(a)(1)(B)), cybersquatting under


                                                -2-
ME1 25281383v.1
   Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 3 of 42 PageID #: 3




Section 43(d) of the Lanham Act (15 U.S.C. § 1125(d)), for related claims of trademark

infringement, dilution, false designation of origin and unfair competition under the statutory and

common law of New Jersey (N.J. Rev. Stat. §56:3-13.16, §56:3-13.20, §56:8-2 and additional

provisions of Title 56)+ Yf\ ^gj [Yf[]ddYlagf g^ C]^]f\Yflkx Tfal]\ RlYl]k Q]_akljYlagf Mg-

4,688,893 (15 U.S.C. § 1119). Emerson Radio seeks injunctive relief lg hj]n]fl C]^]f\Yflkx

^jge ^mjl`]j ljY\af_ gf De]jkgf QY\agxk _gg\oadd Yf\ af^jaf_af_ alk ljY\]eYjck+ Yf\ ^mjl`]j

seeks damages+ Yllgjf]qkx ^]]k and other monetary relief.

                                          THE PARTIES

Plaintiff Emerson Radio

        3.        Plaintiff Emerson Radio Corporation is a corporation organized and existing

under the laws of Delaware with its principal place of business at 3 University Plaza, Suite 405,

Hackensack, New Jersey 07601.

        4.        Emerson Radio is a leading provider of consumer products bearing the

EMERSON mark, including but not limited to household appliances such as compact

refrigerators, microwave ovens, wine coolers, coffee makers, toaster and convection ovens, clock

radios, audio and video equipment, a variety of other housewares, games and toys, and other

[gfkme]j ]d][ljgfa[ hjg\m[lk (l`] vDe]jkgf QY\ag Fgg\kw).

Defendants EQK and Home Easy

        5.        Upon information and belief, EQK is a corporation organized and existing under

the laws of Delaware incorporated on November 14, 2014 with its principal place of business at

1275 Bloomfield Avenue, Unit 141, Building 16, Fairfield, New Jersey 07004.                 Upon

information and belief, EQK is not registered to do business in the State of New Jersey.

        6.        Upon information and belief, Home Easy is a corporation organized and existing

under the laws of Delaware incorporated on June 21, 2016 with its principal place of business at
                                            -3-
ME1 25281383v.1
   Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 4 of 42 PageID #: 4




1275 Bloomfield Avenue, Unit 141, Building 16, Fairfield, New Jersey 07004.                  Upon

information and belief, Home Easy is registered to do business in New Jersey.

        7.        Upon information and belief, Hom] DYkqxk hYj]fl [gehYfq+ Gge] DYkq

Industrial Co., Ltd. of Hong Kong (vGge] DYkq GJw), acquired EQK in 2016.

        8.        Upon information and belief, EQK is a provider of consumer appliances,

including window and wall room air conditioning units and dehumidifiers (the vEQK Fgg\kw)-

        9.        Upon information and belief, the two defendants, Home Easy and EQK, operate

together or in concert from the same New Jersey address. Specifically, Home Easy established

its headquarters at the Fairfield, NJ address (and its HK parent reports a NJ address as its global

operations location) and Home Easy HK established the headquarters of its subsidiary, EQK, at

the same address.      Exterior signage for both Home Easy and EQK appear on the building at the

Unit 141 address shared by EQK and Home Easy in Fairfield, New Jersey:




        10.       On information and belief, Home Easy also provides the warranty services for the

EQK Goods as follows: vShould your EMERSON QUIET KOOL brand Window Air
                                                -4-
ME1 25281383v.1
   Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 5 of 42 PageID #: 5




Conditioner prove to be defective in material or workmanship under normal use during the

warranty period listed below, effective from the date of original consumer purchase of the

product, Home Easy Ltd. will replace defective part(s).w

        11.       On information and belief, in doing the acts and engaging in the conduct alleged

throughout this Verified Complaint, each of the Defendants was the agent, principal, employee,

servant, employer, successor, alter ego, joint venturer, partner and/or co-conspirator of each

other Defendant in this action.

        12.       On information and belief, each of the Defendants were, at all relevant times

mentioned herein, acting within the course and scope of such capacities and with the consent of,

the remaining Defendants.

        13.       Wherever reference is made herein to an act of one of the Defendants, such

allegation shall be deemed to mean the acts of such Defendant and each of the other Defendants,

acting individually, jointly and severally.

                                  JURISDICTION AND VENUE

        14.       This action arises out of violations of the United States Trademark Act (the

vKYf`Ye @[lw) 04 T-R-B- s 1051, et. seq., and subject matter jurisdiction is therefore conferred

upon this Court by 28 U.S.C. § 1331 (federal question), and 28 U.S.C. § 1338(a) (action arising

under an Act of Congress relating to trademarks or copyrights).

        15.       Supplemental jurisdiction over the related state law claims is conferred upon this

Court by 28 U.S.C. § 1367 and 28 U.S.C. § 1338(b).

        16.       Supplemental jurisdiction over the claim for cancellation of Emerson Quiet

Jggdxk T-R- ljY\]eYjc j]_akljYlagf ak [gf^]jj]\ on this Court by 28 U.S.C. § 1367 and 28 U.S.C.

§ 1338(b).


                                                 -5-
ME1 25281383v.1
   Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 6 of 42 PageID #: 6




          17.     This Court has personal jurisdiction over Defendants because, upon information

and belief, (a) EQK and Home Easy each have a principal place of business in this District;

(b) EQK and Home Easy each have continuous, systematic and substantial business contacts

with residents of this District; and (c) EQK and Home Easy have deliberately created confusion

among Emerson Radioxs existing and potential customers, many of whom reside in New Jersey

and caused significant harm to Emerson QY\agxk j]hmlYlagf+ _gg\oadd Yf\ ljY\]eYjck af M]o

Jersey.

          18.     A substantial part of the events or omissions giving rise to the claims occurred in

this judicial district. Accordingly, venue is proper in this judicial district pursuant to 28 U.S.C.

§ 1391(b) and (c).

                                    GENERAL ALLEGATIONS

Emerson Radio, Its Products, and the Emerson Radio Marks

          19.     Plaintiff Emerson Radio has a continuous history of use of the EMERSON mark

dating back to the early 1900s.

          20.     Use began under Emerson Phonograph Company, Inc., founded by Victor

Emerson in New York City. It was later renamed Emerson Radio and Phonograph Corporation.

The first U.S. trademark registration for the Emerson brand (Reg. No. 108287 for the market

VICTOR H. EMERSON), covering phonographic machines and records, was issued on January

25, 1916.

          21.     De]jkgf QY\agxk hj]\][]kkgjk then expanded the brand into other product lines

and moved its headquarters to New Jersey. (Id. at ¶__). In the period surrounding World War II,

the company became a leading supplier of radio receivers and television sets sold under the

klqdar]\+ De]jkgf vF Bd]^w eYjc (Q]_akljYlagf Mg- 3/8+518+ akkm]\ af 0833)9                       .


                                                 -6-
ME1 25281383v.1
   Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 7 of 42 PageID #: 7




        22.       Hf 0842+ De]jkgf QY\agxk hj]\][]kkgjk Z]_Yf k]ddaf_ Yaj [gf\alagf]jk ^gddgwing

the acquisition of the Quiet-Heet Corporation of Newark, NJ. Those air conditioners were sold

by Emerson Radio under the mark QUIET KOOL by EMERSON RADIO until approximately

1980. A sample image of such a product appears below:




        23.       The predecessors of Emerson Radio eventually merged with and into several

other entities, becoming a division of National Union Electric Corp. in the 1960s. Major

Electronics Corp., itself founded in 1948, acquired the EMERSON marks in the 1970s, and

operated its business under the name Emerson Radio from headquarters in New Jersey. In 1984,

Major Electronics Corp. assigned its EMERSON marks to Emerson Radio Corp., a New Jersey

corporation.

        24.       Those EMERSON marks and all their related goodwill were then acquired by

Plaintiff Emerson Radio in 1984 through a merger of itself with the New Jersey entity of the

same name.


                                               -7-
ME1 25281383v.1
   Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 8 of 42 PageID #: 8




        25.       The trademarks owned by Emerson Radio consist of several distinctive marks

bearing the name EMERSON and EMERSON (with G-Bd]^ C]ka_f) ([gdd][lan]dq+ l`] vDe]jkgf

QY\ag LYjckw) o`a[` `Yn] Z]]f af continuous uninterrupted use in United States commerce in

connection with a variety of consumer appliances, housewares, consumer electronics and other

products since the early 1900s. Emerson Radio has established longstanding common law rights

in its Emerson Radio Marks.

        26.       In addition to its common law rights, Emerson Radio is the owner of several U.S.

trademark registrations (and a pending U.S. trademark application) for the Emerson Radio

Marks, including those appearing below and in Exhibit A:

Mark                Appl. or Reg.   Appl. Filing   Goods Covered by the Application / Registration
                    No.             Date and
                                    Reg. Date
                    Reg. No.        Filed          International Classes 7, 9, 11, 12, 15 (Prior U.S. Class
                    409,629         8/14/1943;     21): Radio receiving sets, television receiving sets
                    (Supplemental   Registered
                    Register)       10/10/1944
EMERSON             Reg. No.        Filed          International Class 9: Tape recorders and accessories
                    799,308         1/15/1965;     therefor
                    (Supplemental   Registered
                    Register)       11/23/1965
                    Reg. No.        Filed          International Classes 7, 9, 11, 12, 15 (Prior U.S. Class
                    855,479         9/28/1967;     21): Television receiving sets
                                    Registered
                                    8/27/1968
                    Reg. No.        Filed          International Class 11: Microwave ovens
                    1,709,884       11/23/1984;
                                    Registered
                                    8/25/1992
                    Reg. No.        Filed          International Class 9: Video recorders, cassette player-
                    1,375,581       11/16/1984;    recorders
                                    Registered
                                    12/17/1985
                    Reg. No.        Filed          International Class 9: Telephones and structural parts
                    1,691,195       11/8/1984;     thereof
                                    Registered
                                    6/9/1992




                                                   -8-
ME1 25281383v.1
   Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 9 of 42 PageID #: 9



Mark              Appl. or Reg.   Appl. Filing   Goods Covered by the Application / Registration
                  No.             Date and
                                  Reg. Date
                  Reg. No.        Filed          International Class 7: Electric kitchen appliances, namely,
                  2,931,014       5/15/1998;     food blenders for domestic use; hand-held food blenders,
                                  Registered     can openers for household use, hand mixers, mixing
                                  3/8/2005       machines, food choppers, can openers, combination can
                                                 opener and knife sharpeners and electric slicers; electric
                                                 juicers
                                                 International Class 9: Electric irons
                                                 International Class 11: Electric appliances, namely,
                                                 electric kettles, skillets, cookers, coffee makers for
                                                 domestic use, toasters, and sandwich makers
                  Reg. No.        Filed          International Class 9: Audio products, namely, audio
                  2,610,333       8/11/1999;     players, radio receivers, combination systems comprising
                                  Registered     any combination of the foregoing; telephones
                                  8/20/2002
                  Reg. No.        Filed          International Class 11: Compact refrigerators as a
                  3,532,350       7/30/2002;     component of compact combination refrigerator/freezers;
                                  Registered     compact freezers as a component of compact combination
                                  11/11/2008     refrigerator/freezers

                  Reg. No.        Filed          International Class 9: Televisions and television/digital
                  3,497,331       12/14/ 2005;   versatile disc player
                                  Registered
                                  9/2/2008
                  Reg. No.        Filed          International Class 9: Telephones, caller identification
                  3,814,960       10/26/2007;    units, telephone answering machines
                                  Registered
                                  7/6/2010
                  Reg. No.        Filed          International Class 9: Audio players and recorders
                  4,214,261       2/13/2009;
                                  Registered
                                  9/25/2012
                  Reg. No.        Filed          International Class 9: Radios incorporating clocks,
                  3,851,674       2/13/2009;     portable and non-portable docking stations for mounting,
                                  Registered     charging and powering portable and handheld audio players
                                  9/21/2010
                  Reg. No.        Filed          International Class 11: Compact refrigerators, compact
                  4,671,987       1/26/2009;     freezers, microwave ovens, portable ice making machines
                                  Registered     International Class 21: Wine accessories, namely,
                                  1/13/2015      electronic wine bottle openers, battery operated wine bottle
                                                 openers
                  Reg. No.        Filed          International Class 9: Camcorder
                  4,154,588       9/29/2009;
                                  Registered
                                  6/5/2012
                  Reg. No.        Filed          International Class 9: Combination televisions with video
                  4,147,139       3/5/2009;      recorders; video players and recorders; digital cameras and
                                  Registered     camcorders
                                  5/22/2012




                                                 -9-
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 10 of 42 PageID #: 10



Mark                 Appl. or Reg.   Appl. Filing   Goods Covered by the Application / Registration
                     No.             Date and
                                     Reg. Date
                     Reg. No.        Filed          International Class 8: Electric shavers and hair trimmers
                     3,888,091       3/5/2009;      International Class 9: headphones; corded wireless
                                     Registered     headsets, hands free portable speaker system car kits
                                     12/7/2010      comprised of a handset, speaker, adaptor power cable and
                                                    charger; portable fabric steamers
                                                    International Class 11: Electrically-heated mugs and
                                                    lanterns for household use
                                                    International Class 21: Non-metal coin bank
                     Application     Filed          International Class 9: Radios incorporating clocks;
                     No.             12/21/2016;    telephones; telescoping arms for holding mobile devices
                     87/276,120      Not yet        and cell phones, namely, selfie sticks; telephone, cell phone
                                     registered     and mobile device accessories, namely, speakers; telephone
                                                    equipment, namely, caller identification boxes; headsets for
                                                    telephones, cell phones and mobile devices; telephone
                                                    answering machines; cameras; camera kits comprising bike
                                                    and helmet mounts and waterproof cases; video cameras;
                                                    memory cards for cameras; tablet computers; devices for
                                                    hands-free use of mobile phones; binoculars; binoculars
                                                    with built-in digital cameras; mini-binoculars; telescopes;
                                                    electronic coin banks; wireless audio speakers; kitchen
                                                    scales; electronic coin sorters; emergency auto kits,
                                                    comprised of a rain poncho, a light mounted on a headband,
                                                    a jumper cable set, rubber grip gloves, a tire pressure gauge,
                                                    adhesive bandages and disinfectant pads, and tweezers;
                                                    televisions; combination units comprised of televisions and
                                                    DVD players/recorders; electronic LED signs; luminous
                                                    signs; solar-powered address stakes; electronic tags for
                                                    goods
                                                    International Class 28: Games, namely, board games,
                                                    tabletop games, parlor games, portable and handheld
                                                    games, travel games, non-electronic skill games; apparatus
                                                    for electronic games other than those adapted for use with
                                                    an external display screen or monitor; drumsticks; candy
                                                    dispensers

        27.       A true and correct copy of the registration certificate for each of the

aforementioned trademark registrations and a true and correct copy of the U.S. Patent and

SjY\]eYjc N^^a[]xk klYlmk j][gj\ (including available data regarding any assignments) for each

of the aforementioned application and registrations are attached hereto as Ex. A.

        28.       At all times relevant hereto, Emerson Radio has been the owner of all right, title,

and interest in and to the Emerson Radio Marks. The trademark registrations for the Emerson




                                                    - 10 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 11 of 42 PageID #: 11




Radio Marks are valid and subsisting and in full force and effect. Many of the registrations listed

in Paragraph 25 are also incontestable under 15 U.S.C. § 1065.

        29.       Today, Emerson Radio and its licensees sell the Emerson Radio Goods in the

United States primarily through national big box stores and mass merchandisers, both in store

and online, including Walmart, Fred Meyer, Home Depot and Sears. They also sell the Emerson

Radio Goods through discount retailers and, to a lesser degree, via Internet marketplaces such as

Wayfair.com and Amazon.com. Emerson Radio Goods are generally sold at a low to moderate

price point to deliver a high value proposition to consumers.

        30.       While Emerson Radio does not currently sell window casement air conditioners, it

offers a wide variety of home appliance products under the Emerson brand targeted towards the

same type of household consumer. Some of the Emerson Radio home appliances sold today

under the Emerson Radio Marks are shown below (not to scale):




Microwave oven                                      Convection oven




                                                - 11 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 12 of 42 PageID #: 12




Wine cooler


                                                                                      !

                                                   Compact refrigerator/freezer




                       !

Clock radio

        31.       Sales of goods sold in the United States under the Emerson Radio brand have

reached billions of dollars over the past several decades. Indeed, direct product sales of the

Emerson Radio Goods totaled over $120 million in the past three fiscal years alone, plus

`mf\j]\k g^ eaddagfk g^ \gddYjk egj] af hjg\m[l kYd]k Zq De]jkgf QY\agxk Yml`gjar]\ da[]fk]]k

during this period.

        32.       Emerson Radio, along with its predecessors and licensees, has expended

significant resources to market and promote the Emerson Radio Goods in connection with the

Emerson Radio Marks. Over the past 10 fiscal years, Emerson Radio expended nearly $35

million on advertising and promotional efforts, a substantial portion of which was co-op

advertising (i.e., ads specifically mentioning products of manufacturers who repay the retailers

for all or part of the cost of the ad) with major big box stores such as Walmart and Target.
                                               - 12 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 13 of 42 PageID #: 13




        33.       Emerson Radio is known for its high quality consumer products. Emerson Radio-

branded products have received several accolades and market recognition:

                  (1)    In 2000, Emerson Radio received the Good Housekeeping vFgg\ Amq

1/// @oYj\w ^gj Yf YdYje [dg[c+ Yk gf] g^ l`] keven most innovative products of the year

(Volume 230, Dec 2000).

                  (2)    In 2006 and 2007, De]jkgf QY\ag oYk fYe]\ vOYjlf]j g^ l`] W]Yjw Zq

SYj_]l ^gj alk vaffgnYlan] d]Y\]jk`ah+ kmh]jagj Zmkaf]kk hjY[la[]k Yf\ [geeale]fl lg (SYj_]l'k)

core strategies of DiffereflaYlagf+ UYdm] Yf\ Q]daYZadalq+w o`a[` oYk l`] ^ajkl afklYf[] g^ Y j]h]Yl

winner in the housewares category. (Available at http://www.marketwired.com/press-

release/emerson-radio-receives-partner-award-excellence-from-target-corporation-second-

straight-amex-msn-730188.htm, last visited July 20, 2017).

                  (3)    In 2011, Nf] g^ De]jkgf QY\agxk [dg[c jY\agk was featured as a

commemorative U.S. postage stamp.

                  (4)    An Emerson Radio microwave is currently featured Yk Yf v@eYrgfxk

B`ga[]+w Y jYlaf_ o`a[` Y[[gj\af_ lg @eYrgf vj][gee]f\k `a_`dq jYl]\+ o]dd-priced products

YnYadYZd] lg k`ah aee]\aYl]dq-w (Available at

https://www.amazon.com/s/ref=nb_sb_noss_2?url=search-alias%3Daps&field-

keywords=emerson+microwave&rh=i%3Aaps%2Ck%3Aemerson+microwave, last visited July

20, 2017).

True copies of the foregoing items are attached hereto as Exhibit B.

        34.       @k Y \aj][l j]kmdl g^ De]jkgf QY\agxk kYd]k+ Y\n]jlakaf_ Yf\ eYjc]laf_ gn]j eYfq

decades, the public has come to recognize the Emerson Radio Marks as exclusively identifying

De]jkgf QY\agxk `a_`-quality home appliances and other consumer products. Emerson Radio


                                                - 13 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 14 of 42 PageID #: 14




has developed secondary meaning in its Emerson Radio Marks, and the Emerson Radio Marks

have generated significant and valuable goodwill.

        35.       The distinctive Emerson Radio Marks and the Emerson Radio Goods offered

under those marks have come to be associated in the minds of consumers with their exclusive

source: Emerson Radio.

Defendant`g Wrongful Acts

        36.       Upon information and belief, EQK is a provider of consumer appliances,

including but not limited to a series of Yaj [gf\alagf]jk Yf\ \]`mea\a^a]jk (l`] vEQK Fgg\kw)-

        37.       Upon information and belief, on or about May 2017, EQK launched the EQK

Goods under the trademark EMERSON QUIET KOOL.

        38.       Upon information and belief, the EQK Goods are low to moderately priced and

offered for sale in big box and online retailers including Home Depot, Walmart, Amazon.com

and Wayfair.com, targeted towards homeowners, renters, and other consumers seeking

appliances for everyday living.

        39.       The EQK Goods display a stylized EMERSON QUIET KOOL mark in the form

appearing below:




                                              - 14 -
ME1 25281383v.1
Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 15 of 42 PageID #: 15
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 16 of 42 PageID #: 16




        44.       The EQK Website (Ex. C) further includes a lae]daf] klYlaf_ l`Yl vPma]l Jggd

window air conditioners, manufactured by Quiet-Heet Manufacturing Corp. of Newark, New

I]jk]qw o]j] afljg\m[]\ af 0838 ^gddgo]\ Zq vDe]jkgfw afljg\m[af_ []jlYaf Yaj [gf\alagf]jk af

1961 and 1980, as depicted in the following screenshot:




                                              - 16 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 17 of 42 PageID #: 17




        45.       In addition, mf\]j l`] `]Y\af_ vDe]jkgf Pma]l Jggd Gaklgja[ HeY_]k+w l`] DPJ

Website (Ex. C) displays a number of historical images of air conditioners (including one

displaying the year 1958), several of which clearly display the Emerson Radio name:




                                              - 17 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 18 of 42 PageID #: 18




                                    - 18 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 19 of 42 PageID #: 19




        46.       Other sales and marketing materials (Ex. D), which are branded not only with

DPJxk ZjYf\ Zml Ydkg oal` l`] Gge] DYkq ZjYf\, display images of Emerson Radioxk [dYkka[

products, such as its radios and televisions:




        47.       Emerson Radio has no relationship or affiliation with either Defendant and did not

consent to the display of images of its products or the use of its name and brand on the EQK

Website.

        48.       Upon information and belief, EQK, which was not incorporated until 2014, sold

none of the historical products depicted on the EQK Website or in DPJxk eYjc]laf_ eYl]jaYdk-

Rather, the history noted and images depicted are those of Emerson Radio.

        49.       EQK purports to own a United States trademark registration, U.S. Registration

No. 4,688+782+ ^gj l`] ogj\ eYjc DLDQRNM PTHDS JNNK ^gj vPortable compact residential

window and wall room air conditioning units+w af Hfl]jfYlagfYd BdYkk 00.           The application

underlying this contestable registration was filed on March 1, 2010, on an intent to use basis

                                                - 19 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 20 of 42 PageID #: 20




under Section 1(b) of the Lanham Act, 15 U.S.C. 1051(b), by Airwell Hong Kong Technologies

Ltd. The application proceeded to registration on February 17, 2015, and the registration claims

November 5, 2014 as the date of first use and date of first use in commerce of the mark.

         50.      Upon information and belief, Emerson Quiet Kool purportedly became the owner

of U.S. Registration No. 4,688,893 in January 2017, through a series of assignments.

         51.      Upon information and belief, the EMERSON QUIET KOOL mark was not in use

as of November 5, 2014, or even by the date the mark registered in February 2015. Upon

information and belief, the actual date of first use in commerce of the mark shown in

Registration No. 4,688,893 was not until May 2017. Upon information and belief, the Emerson

Quiet Kool brand was inactive for many years hj][]\af_ DPJxk 2017 launch.

         52.      Accordingly, none of these statements on the EQK Website and the marketing

materials described above are true of EQK. If anything, these statements tell the history of

Emerson Radio and the brand QUIET KOOL by EMERSON RADIO and other products that

Emerson Radio historically featured.

9TUT\SP\a`g M_]\VUbZ 8]\SbRa >P` 8Pb`Td Emerson Radio Harm and Risks Future Harm

         53.      The statements on the EQK Website and af C]^]f\Yflkx marketing materials are

false misrepresentations about C]^]f\Yflkx history, reputation and association with Emerson

Radio.

         54.      EQKxk mk] g^ l`] De]jkgf Radio Marks, its false statements and

misrepresentations about the history of EQK and its products, and its display on the EQK

Website and marketing materials of historical images of air conditioners actually produced and

sold by Emerson Radio, confuse and deceive customers into believing that they are purchasing

the Emerson Radio Goods when they are actually purchasing the EQK Goods and cause


                                              - 20 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 21 of 42 PageID #: 21




consumers to mistakenly believe that there is an affiliation between the EQK Goods and

Emerson Radio .

        55.       Given the similarity between trade channels and target customers for both the

EQK Goods and the Emerson Radio Goods, the same consumers will encounter both the goods

supplied by Emerson Radio and by EQK. Furthermore, the type of goods offered by the parties

are often offered by a single company u for example, GE Appliances and LG each offer

ea[jgoYn] gn]fk+ j]^ja_]jYlgjk Yf\ Yaj [gf\alagf]jk- De]jkgf QY\agxk hjg\m[lk u compact

refrigerators, microwave ovens and other consumer appliances and housewares u Yf\ DPJxk

products u air conditioners and dehumidifiers u are all consumer appliances falling into the same

category of goods in the minds of consumers. A consumer may reasonably assume that a single

[gehYfq ogmd\ g^^]j Zgl` hYjla]kx _gg\k-

        56.       Actual confusion has already occurred. Consumers have contacted Plaintiff by

phone on several occasions confused about the source of the EQK Goods. Those consumers

were complaining to Emerson Radio about the quality of the EQK Goods or seeking replacement

parts for newly purchased products. These calls began almost immediately following the launch

of the EQK Goods and have continued through the present.

        57.       Upon information and belief, several of the EQK Goods have received negative

reviews with online retailers.

        58.       In June 2017, a sophisticated investor in Emerson Radio contacted Emerson

Radio to inquire about l`] vDMERSON QUIET KOOL line of air conditionersw that the investor

believed were being sold by Emerson Radio. Despite his familiarity with Emerson Radio and its

products, he still believed the EQK air conditioners were being sold by Emerson Radio.




                                              - 21 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 22 of 42 PageID #: 22




        59.       Upon its initial receipt of confused consumer calls in May 2017, Emerson Radio

believed that the EQK products were those of Emerson Electric Co. (vDe]jkgf Dd][lja[w).

Emerson Electric is a separate entity which owns rights in its own EMERSON mark for other

specific goods and services.

        60.       Since the late 1930s, when decisions by both the Second Circuit Court of Appeals

and the Court of Customs and Patent Appeals held that concurrent use of the two compana]kx

marks on their respective products would be allowed, Emerson Radio and Emerson Electric have

coexisted in the marketplace. In addition, Emerson Radio and Emerson Electric have long-

standing agreements about use of their respective marks which operate to minimize any

consumer confusion through, for example, the use of different logos and specific marketing

requirements, as well as creating a channel for consumers to be directed to the appropriate party.

Accordingly, Emerson Radio directed an unknown number of early consumer complaints to

Emerson Electric per those agreements.

        61.       C]^]f\Yflkx Y[lagfk `Yn] [j]Yl]\ [gf^mkagf af l`] eYjc]lhdY[] as consumers and

gl`]j af\mkljq klYc]`gd\]jk Yj] Ydj]Y\q Ykkg[aYlaf_ DPJxk Fgg\kuand their poor qualityuwith

Emerson QY\ag- S`ak [gf^mkagf `Yk `Yje]\+ Yf\ oadd [gflafm] lg `Yje De]jkgf QY\agxk

goodwill and business reputation.

        62.       In this competitive consumer products market, a bad consumer experience can

infect not only the instant purchase, but future purchases of any other products sold under the

brand. For a company like Emerson Radio that sells so many different products, the potential for

widespread harm across its entire catalogue is great.

        63.       DPJxk [gf\m[l ak also likely to cause confusion amongst the wholesale buyers at

De]jkgf QY\agxk j]lYad hYjlf]jk such as The Home Depot, Target, and Walmart who could be led


                                                - 22 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 23 of 42 PageID #: 23




to believe that EQK is affiliated with Emerson Radio, attribute EQKxk hggj quality to Emerson

Radio, and avoid carrying Emerson Radio Goods in their stores as a result.

        64.       The confusion between EQK and Emerson Radio is ongoing and continuing,

compounding the harm to Emerson Radio.

Defendants Refuse to Cease Their Harmful Conduct

        65.       @^l]j \ak[gn]jaf_ DPJxk ojgf_^md [gf\m[l l`jgm_` l`] j]hgjl]\ afklYf[]k g^

actual consumer confusion, Emerson Radio moved promptly to attempt to minimize its damage.

        66.       After sufficient investigation, Emerson Radio sent a cease and desist letter to

EQK on July 7, 2016 demanding that EQK remove all offensive content from its website and

stop its infringing use of the EMERSON QUIET KOOL mark by July 14, 2017.

        67.       Emerson Radio also again contacted Emerson Electric and subsequently learned

that while Emerson Electric had previously consented to EQK registering a trademark for

EMERSON QUIET KOOL wal`gml Yd]jlaf_ De]jkgf QY\ag+ DPJxk Y[lmYd mk] ]p[]]\k l`]

k[gh] g^ De]jkgf Dd][lja[xk [gfk]fl-

        68.       Emerson Radio had no notice of the EQK application or registration, was not

aware of EQK until first receiving calls from confused consumers about EQK products in May-

July of 2017, and did not and does not itself consent to DPJxk registration or use.

        69.       S`] lae] Yddgll]\ ^gj DPJ lg j]khgf\ lg De]jkgf QY\agxk []Yk] Yf\ \]kakl d]ll]j

elapsed with no response or change in conduct.

        70.       Use of the Emerson Radio Marks and other wrongful conduct by EQK in the

manner described herein constitutes infringement of the Emerson Radio Marks, unfair

competition, false designation of origin and false advertising. As a result of this wrongful

conduct by EQK, Emerson Radio has suffered irreparable damage to its goodwill and business


                                               - 23 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 24 of 42 PageID #: 24




reputation, and will continue to suffer such damage unless the conduct by EQK is restrained.

None of these harms are adequately compensable by monetary damages.

                                    COUNT I
                   TRADEMARK INFRINGEMENT UNDER 15 U.S.C. § 1114

        71.       Emerson repeats and re-alleges the allegations of the foregoing paragraphs of its

Verified Complaint as if fully set forth herein.

        72.       C]^]f\Yflkx mse of the Emerson Radio Marks without the authorization or consent

of Emerson Radio in connection with the sale, offering for sale, and distribution of the EQK

Goods constitutes a use in interstate commerce that is likely to cause confusion, deception and

mistake by buyers and the consuming public.

        73.       Defendants acts create a likelihood that a false and unfair association will be

made between EQK, the EQK Goods, and Emerson Radio, so that the purchasing public is likely

to believe that the EQK Goods are authentic Emerson Radio Goods, that EQK is authorized by

Emerson Radio to sell Emerson Radio Goods, that the public is purchasing the Emerson Radio

Goods when they are actually purchasing the EQK Goods, and/or that EQK and the Emerson

Quiet Kool Goods are otherwise affiliated with or sponsored by Emerson Radio.

        74.       These acts by Defendants constitute trademark infringement under 15 U.S.C.

§ 1114.

        75.       In fact, instances of actual confusion have occurred, where consumers who

purchased EQK Goods believed that the EQK Goods emanated from Emerson Radio and/or that

EQK was associated with Emerson Radio.

        76.       Upon information and belief, Defendants have acted intentionally, maliciously,

willfully, and in bad faith for the purposes of deceiving buyers into purchasing products from

EQK based on the false belief that those products are genuine Emerson Radio Goods, that EQK

                                                - 24 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 25 of 42 PageID #: 25




is authorized by Emerson Radio to sell the EQK Goods, and/or that EQK and the EQK Goods

are otherwise affiliated with or sponsored by Emerson Radio, and with the specific intent to

appropriate to Defendants and to employ for their own benefit the valuable goodwill and

business reputation represented by the Emerson Radio Marks.

        77.       C]^]f\Yflkx Y[lk have caused and, if allowed to continue, will continue to cause

Emerson Radio to suffer substantial irreparable harm in the nature of loss of control over its

reputation and loss of consumer goodwill. Emerson Radio has no adequate remedy at law.

        78.       As a result of the foregoing, Emerson Radio has suffered actual damages and

Defendants have been unjustly enriched.

        79.       Defendantsx actions have been extraordinary, willful, and in bad faith entitling

Emerson Radio to treble damages, Yllgjf]qkx ^]]k Yf\ [gkl g^ kmal+ Yf\ lg km[` gl`]j Yf\ ^mjl`]j

relief, as the Court shall deem appropriate in the circumstances.

                                COUNT II
         TRADEMARK INFRINGEMENT, UNFAIR COMPETITION AND FALSE
             DESIGNATION OF ORIGIN UNDER 15 U.S.C. § 1125(a)(1)(A)

        80.       Emerson Radio repeats and realleges the allegations of the foregoing paragraphs

of its Verified Complaint as if fully set forth herein.

        81.       C]^]f\Yflkx use of the Emerson Radio Marks without authorization on its air

conditioning and other products and its ^Ydk] Yf\ eakd]Y\af_ afng[Ylagf g^ De]jkgf QY\agxk

history and historic products on its website and marketing materials constitutes use in interstate

commerce that is likely to cause confusion, or to cause mistake, or to deceive consumers as to

the affiliation, connection, or association of EQK with Emerson Radio, such that consumers may

Z]da]n] l`Yl C]^]f\Yflkx hjg\m[lk Yj] khgfkgj]\ Zq+ ]f\gjk]\ Zq+ Yhhjgn]\ Zq+ da[]fk]\ Zq+

authorized by, or affiliated or connected with Emerson Radio.


                                                - 25 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 26 of 42 PageID #: 26




        82.       C]^]f\Yflkx acts constitute trademark infringement, false designation of origin,

and unfair competition in violation of Lanham Act § 43(a), 15 U.S.C. § 1125(a).

        83.       Thgf af^gjeYlagf Yf\ Z]da]^+ C]^]f\Yflkx acts have been committed intentionally,

maliciously, and willfully for the purposes of deceiving buyers into purchasing the EQK Goods

based on the false belief that such products emanate or are affiliated with Emerson Radio, and

with the specific intent to appropriate to Defendants and to employ for their own benefit the

valuable goodwill and business reputation represented by the Emerson Radio Marks.

        84.       C]^]f\Yflkx Y[lk have caused and, if allowed to continue, will continue to cause

Emerson to suffer substantial irreparable harm in the nature of loss of control over its reputation

and loss of consumer goodwill. Emerson Radio has no adequate remedy at law.

        85.       In addition, as a result of the foregoing, Emerson Radio has suffered actual

damages and EQK has been unjustly enriched.

        86.       C]^]f\Yflkx actions have been extraordinary, entitling Emerson Radio to treble

damages, Yllgjf]qkx ^]]k Yf\ [gkl g^ kmal+ Yf\ lg km[` gl`]j Yf\ ^mjl`]j j]da]^ Yk l`] Bgmjl k`Ydd

deem appropriate in the circumstances.

                                    COUNT III
                    FALSE ADVERTISING UNDER 15 U.S.C. § 1125(a)(1)(B)

        87.       Emerson Radio repeats and realleges the allegations of the foregoing paragraphs

of its Verified Complaint as if fully set forth herein.

        88.       C]^]f\Yflkx acts of in promoting, advertising, and marketing the EQK Goods and

its false and misleading conduct described herein constitutes false advertising in violation of

Lanham Act § 43(a), 15 U.S.C. § 1125(a)(1)(B).

        89.       The misrepresentations appearing on the EQK Website and the marketing

materials identified herein constitutes false or misleading statements of material facts used in a

                                                - 26 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 27 of 42 PageID #: 27




commercial advertisement or promotion in interstate commerce. Defendants claim that they

`Yn] Z]]f af Zmkaf]kk kaf[] 0838+ Zml l`]q `Yn] fgl; C]^]f\Yflk [dYae l`]q Yj] vgf] g^ l`] gd\]kl

and well-j]kh][l]\ ZjYf\kw af l`] af\mkljq+ Zml they are not; Defendants falsely claim the history

of Emerson Radio; Defendants misleadingly display Emerson Radio air conditioners and other

products on their site; many of these products actually contain the Emerson Radio name or

brand.

         90.      Those statements are material to the consumersx purchasing decisions in that they

Yj] l`] []fljYd ^g[mk g^ C]^]f\Yflkx Y\n]jlakaf_+ km__]klaf_ lg [gfkme]jk l`Yl \m] lg C]^]f\Yflkx

long history their products are of high quality, are reliable and can be trusted.

         91.      Defendanlkx Y[ls deceive or are likely to deceive consumers, and indeed have

already deceived consumers, and have caused and are likely to cause competitive or commercial

injury to Emerson Radio in the nature of harm to its goodwill and the resulting loss of sales.

         92.      Thgf af^gjeYlagf Yf\ Z]da]^+ C]^]f\Yflkx acts have been committed intentionally,

maliciously, willfully, and with the specific intent of deceiving buyers into purchasing the EQK

Goods based on the false belief that such products are authentic high quality Emerson Radio

Goods, are sourced by Emerson Radio, or otherwise manufactured by a company that has been

engaged in the manufacture of household consumer appliance products in the United States for

over 60 years.

         93.      C]^]f\Yflkx acts have caused and, if allowed to continue, will continue to cause

Emerson to suffer substantial irreparable harm in the nature of loss of control over its reputation

and loss of consumer goodwill. Emerson Radio has no adequate remedy at law.

         94.      In addition, as a result of the foregoing, Emerson Radio has suffered actual

damages and EQK has been unjustly enriched.


                                                - 27 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 28 of 42 PageID #: 28




         95.      C]^]f\Yflkx actions have been extraordinary, entitling Emerson Radio to treble

damages, Yllgjf]qkx ^]]k Yf\ [gkl g^ kmal+ Yf\ lg km[` gl`]j Yf\ ^mjl`]j j]da]^ Yk l`] Bgmjl khall

deem appropriate in the circumstances.

                             COUNT IV
 VIOLATION OF THE ANTICYBERSQUATTING CONSUMER PROTECTION ACT,
                         15 U.S.C. § 1125(d)

         96.      Emerson Radio repeats and realleges the allegations in the foregoing paragraphs

of the Verified Complaint as if fully set forth herein.

         97.      Defendants are using the domain name www.emersonquietkool.com to market

their air conditioning and dehumidifier products.

         98.      C]^]f\Yflkx domain name expressly contains De]jkgf QY\agxk DLDQRNM

trademark and is therefore confusingly similar to the Emerson Radio Marks.

         99.      The Emerson Radio Marks are distinctive, and had achieved secondary meaning

before Defendants, or their agent, registered the domain name in 2013.

         100.     The use of such a domain name infringes the Emerson Radio Marks.

         101.     Upon information and belief, Defendants registered the domain name with the bad

faith intent to profit from the goodwill Emerson Radio has developed in the Emerson Radio

Marks.

         102.     Upon information and belief, Defendants registered and are using a domain name

which is confusingly similar to De]jkgf QY\agxk fYe] Yf\ eYjck lg [YhalYdar] gf De]jkgf

QY\agxk _gg\oadd Yf\ j]hmlYlagf.

         103.     C]^]f\Yflkx use of the emersonquietkool.com domain creates likely and actual

confusion as to the source, sponsorship, affiliation or endorsement of Def]f\Yflkx site, has

harmed De]jkgf QY\agxk goodwill.


                                                - 28 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 29 of 42 PageID #: 29




        104.      Defendant's conduct has caused and will continue to cause injury to Emerson

Radio and to its goodwill and reputation, and will continue to both damage Emerson Radio and

the public unless enjoined by this Court and the domain name registration ordered canceled and

transferred to Emerson Radio.

        105.      EQKxk aforesaid acts have caused and will cause irreparable injury to Emerson.

Unless such acts are restrained by this Court, EQKxk wrongful conduct will continue, and

Emerson Radio will continue to suffer such injury.

        106.      As a result of the foregoing actions, Emerson Radio is entitled to have EQK

temporarily, preliminarily and permanently restrained from using, selling or otherwise

transferring the Infringing Domain Name, and to monetary compensation and statutory penalties.

                              COUNT V
          TRADEMARK INFRINGEMENT UNDER N.J. STAT. ANN. § 56:3-13.16

        107.      Emerson Radio repeats and realleges the allegations in the foregoing paragraphs

of the Verified Complaint as if fully set forth herein.

        108.      C]^]f\Yflkx use of the Emerson Radio Marks in connection with the offering for

sale and sale of consumer products in this judicial district and elsewhere has caused or is likely

to cause confusion, mistake and/or deception as to the source or origin, sponsorship, or approval

of EQK and/or the EQK Goods in that purchasers and others in this judicial district and

elsewhere in the United States are likely to believe that EQK is associated with or related to

Emerson Radio, that EQK is authorized by Emerson Radio to offer the EQK Goods, and that

EQK and the EQK Goods are otherwise affiliated with or sponsored by Emerson Radio.

        109.      C]^]f\Yflkx mk] of the Emerson Radio Marks in connection with the advertising,

promotion, offering for sale, and sale of the EQK Goods is not authorized by Emerson Radio.



                                                - 29 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 30 of 42 PageID #: 30




        110.      C]^]f\Yflkx acts injure Emerson Radioxk aeY_] Yf\ j]hmlYlagf oal` [gfkme]jk af

this District and elsewhere in the United States by, inter alia, creating confusion about, and

potential consumer dissatisfaction with, Emerson Radio, the Emerson Radio Marks, and/or the

Emerson Radio Goods.

        111.      C]^]f\Yflkx acts alleged herein constitute trademark infringement of the Emerson

Radio Marks in violation of N.J. Stat. Ann. § 56:3-13.16.

        112.      C]^]f\Yflkx acts alleged herein have caused and, if allowed to continue, will

continue to cause Emerson to suffer substantial irreparable damage and injury. Emerson Radio

has no adequate remedy at law.

        113.      As a result of the foregoing, Emerson Radio has lost profits, and Defendants have

been unjustly enriched.

                               COUNT VI
          STATE TRADEMARK DILUTION UNDER N.J. STAT. ANN. § 56:13-20

        114.      Emerson Radio repeats and realleges the allegations in the foregoing paragraphs

of the Verified Complaint as if fully set forth herein.

        115.      C]^]f\Yflkx [onduct and acts alleged above are likely to cause dilution of the

distinctive quality of Emerson Radioxk nYdmYZd] Emerson Radio Marks. In addition, EQKxk

conduct and acts alleged above are likely to injure Emerson Radioxk Zmkaf]kk j]hmlYlagf Yf\ km[`

injury will continue unless such acts are enjoined by this Court.

        116.      C]^]f\Yflkx acts constitute trademark dilution under N.J. Stat. Ann. § 56:13-20.

        117.      Emerson Radio has been irreparably injured by EQKxk Y^gj]kYa\ Y[lk Yf\ `Yk fg

adequate remedy at law.




                                                - 30 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 31 of 42 PageID #: 31




                                     COUNT VII
                  FALSE DESIGNATION OF ORIGIN UNDER N.J. STAT. ANN. § 56:8-2

        118.       Emerson repeats and realleges the allegations in the foregoing paragraphs of the

Verified Complaint as if fully set forth herein.

        119.       Defendants    have    employed     deception,    fraud,   false   pretense,   and

misrepresentation, and the knowing concealment, suppression or omission of material facts with

intent that others rely upon such concealment, suppression or omission within the State of New

Jersey in connection with the advertisement, offer for sale and sale of the EQK Goods, in

violation of N.J. Stat. Ann. § 56:8-2.

        120.       C]^]f\Yflkx use of the Emerson Radio Marks in connection with the offer for sale

and sale of consumer products has caused or is likely to cause confusion, mistake, or deception

as to the affiliation, connection, or association of EQK with Emerson Radio, and/or as to the

source, sponsorship, or approval of EQK or its EQK Goods, in that purchasers and others in this

judicial district and elsewhere in the United States are likely to believe that EQK is associated

with or related to Emerson Radio, that EQK has been authorized by Emerson Radio to provide

the EQK Goods, and/or that EQK and the EQK Goods are otherwise affiliated with or sponsored

by Emerson Radio.

        121.       Further, EQKxk Y\n]jlakaf_ Yf\ hjgeglagf g^ alk EQK Goods under the

EMERSON name and with reference to Emerson Radio falsely designates the source of these

products in a manner that is likely to cause confusion, mistake or deception among consumers as

to their origin, sponsorship, or approval.

        122.       C]^]f\Yflkx acts constitute false designation of origin in violation of N.J. Stat.

Ann. § 56:8-2.



                                                 - 31 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 32 of 42 PageID #: 32




        123.      C]^]f\Yflkx acts alleged herein have caused and, if allowed to continue, will

continue to cause Emerson to suffer substantial irreparable damage and injury. Emerson has no

adequate remedy at law.

        124.      As a result of the foregoing, Emerson Radio has lost profits, and Defendants have

been unjustly enriched.

                            COUNT VIII
        TRADEMARK INFRINGEMENT UNDER NEW JERSEY COMMON LAW

        125.      Emerson Radio repeats and realleges the allegations in the foregoing paragraphs

of the Verified Complaint as if fully set forth herein.

        126.      C]^]f\Yflkx acts are likely to confuse and deceive the public into believing that

the EQK Goods advertised, promoted, offered for sale, distributed, and sold by it under the

Emerson Radio Marks are authentic Emerson Radio Goods, that EQK is authorized by Emerson

Radio to sell Emerson Radio Goods, that the public is purchasing the Emerson Radio Goods

when they are actually purchasing the EQK Goods, and/or that EQK and the Emerson Quiet

Kool Goods are otherwise affiliated with or sponsored by Emerson Radio.

        127.      Defendants, by the acts complained of herein, have competed unfairly with

Emerson Radio, and have otherwise used the valuable reputation and goodwill of Emerson Radio

and the Emerson Radio Marks in order to promote, and unfairly benefit from, the sale of the

EQK Goods. Defendants are unfairly benefiting from the goodwill in the Emerson Radio Marks,

and reaping benefits from the fruits of Emerson Radioxk ]^^gjlk Yf\ [gfka\]jYZd] afn]kle]fl-

        128.      As a direct and proximate result of C]^]f\Yflkx aforesaid activities, Emerson

Radio has suffered irreparable harm, and unless Defendants are restrained from continuing its

wrongful acts, the harm to Emerson Radio will continue.



                                                - 32 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 33 of 42 PageID #: 33




        129.      As a result of the foregoing, Emerson Radio has suffered actual damages, and

EQK has been unjustly enriched.

        130.      C]^]f\Yflkx aforesaid acts constitute trademark infringement at common law.

        131.      Emerson Radio has no adequate remedy at law.

                             COUNT IX
   UNFAIR COMPETITION AND FALSE DESIGNATION OF ORIGIN UNDER NEW
                       JERSEY COMMON LAW

        132.      Emerson Radio repeats and realleges the allegations in the foregoing paragraphs

of the Verified Complaint as if fully set forth herein.

        133.      C]^]f\Yflkx use of the Emerson Radio Marks in connection with the offering for

sale, distribution, and sale of the EQK Goods has caused or is likely to cause confusion, mistake,

or deception as to the affiliation, connection, or association of EQK with Emerson Radio, and/or

as to the source, sponsorship, or approval of EQK or the EQK Goods, in that purchasers and

others in this judicial district and elsewhere in the United States are likely to believe that EQK is

associated with or related to Emerson Radio, that EQK is authorized by Emerson Radio to

provide consumer products under the confusingly kaeadYj vEmerson Quiet Koolw fYe]+ Yf\.gj

that EQK and its EQK Goods are otherwise affiliated with or sponsored by Emerson Radio.

        134.      Further, C]^]f\Yflkx advertising and promotion of the EQK Goods falsely

designates the source of these goods in a manner that is likely to cause confusion, mistake or

deception among consumers as to the origin, sponsorship, or approval of these goods.

        135.      C]^]f\Yflkx acts alleged herein constitute unfair competition and false

designation of origin in violation of New Jersey common law.




                                                - 33 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 34 of 42 PageID #: 34




        136.      C]^]f\Yflkx acts alleged herein have caused and, if allowed to continue, will

continue to cause Emerson Radio to suffer substantial irreparable harm. Emerson Radio has no

adequate remedy at law.

        137.      As a result of the foregoing, Emerson Radio has suffered actual damages, and

Defendants have been unjustly enriched.

                                    COUNT X
                     CANCELLATION OF REGISTRATION NO. 4,688,893

        138.      Emerson Radio repeats and realleges the allegations in the foregoing paragraphs

of the Verified Complaint as if fully set forth herein.

        139.      This is a request for an Order directing the Commissioner of Trademarks to

cancel United States Trademark Registration No. 4,688,893 pursuant to Section 37 of the

Lanham Act (15 U.S.C. § 1119).

        140.      @k \]k[jaZ]\ `]j]af+ eYfq g^ OdYafla^^xk Emerson Radio Marks are duly

registered, and in many cases incontestable, and have been in continuous use for decades for a

variety of household goods and appliances.

        141.      EQKxk DLDQRNM PTHDS JNNK mark is substantially identical to OdYafla^^xk

Emerson Radio Marks and is used on goods that are similar and related to the goods covered by

OdYafla^^xk Emerson Radio Marks. The EQK Goods are promoted and sold or offered for sale in

the same or similar channels of trade as those in which the Emerson Radio Goods are promoted

and sold in connection with OdYafla^^xk De]jkgf QY\ag LYjck.

        142.      Given the similarities between OdYafla^^xk De]jkgf QY\ag LYjck and the

EMERSON QUIET KOOL mark, the similarity and related nature of the goods and channels of

trade of the respective parties, the EMERSON QUIET KOOL mark is likely to cause confusion,



                                                - 34 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 35 of 42 PageID #: 35




or to cause mistake, or to deceive consumers, with consequent injury to Plaintiff and to the

public in violation of Section 2(d) of the Lanham Act, 15 U.S.C. § 1052(d).

        143.      Plaintiff also believes it will be damaged by EQKxk continued ownership of

EQKxk Q]_akljYlagf ^gj the EMERSON QUIET KOOL mark on the ground that EQKxk mk] Yf\

registration of the EMERSON QUIET KOOL mark falsely suggests a connection between EQK

and Emerson Radio to the damage of Emerson Radio and injury to the public, in violation of

Section 2(a) of the Lanham Act, 15 U.S.C. § 1052(a).

        144.      The public has, and is likely to, falsely associate the EQK Goods offered and sold

under the EQK Marks with Emerson Radio or with the Emerson Radio Goods, falsely believe

that EQKxk Fgg\k ]eYfYl] ^jge gj Yj] khgfkgj]\+ ]f\gjk]\ gj da[]fk]\ Zq Emerson Radio, or

falsely believe that there is some relationship between EQK and Emerson Radio.

        145.      EQK is in no way associated with or connected with Emerson Radio or the goods

offered by Emerson Radio and its licensees.

        146.      On information and belief, EQK was and is aware of Emerson Radioxk dgf_lae]

use of Emerson Radioxk Emerson Radio Marks in connection with various household appliances

and its well-established goodwill in the minds of the public.

        147.      On information and belief, EQK intended to trade on the goodwill of Emerson

Radio in using the EMERSON QUIET KOOL mark.

        148.      Allowing EQK to continue to own EQKxk Q]_akljYlagf ^gj the EQK Mark is

contrary to Section 2(a) and (d) of the Lanham Act, 15 U.S.C. § 1052(a) and (d), damages

Emerson Radio and violates or diminishes the prior and superior rights of Emerson Radio in the

Emerson Radio Marks.




                                                - 35 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 36 of 42 PageID #: 36




        149.      EQKxk Q]_akljYlagf k`gmd\ Z] [Yf[]dd]\ Z][Ymk] al ak dac]dq lg [Ymk] [gf^mkagf

with Emerson Radioxk Emerson Radio Marks and because the EMERSON QUIET KOOL mark

falsely suggests a connection with Emerson Radio.

                                      PRAYER FOR RELIEF

        WHEREFORE, Emerson Radio respectfully demands judgment:

        (1)       That Defendants and their subsidiaries, parent(s), related companies, officers,

agents, servants, employees, warehousemen, warehousers, distributors, attorneys, successors and

assignees, and all persons in active concert or participation with any of them, be temporarily,

preliminarily, and permanently enjoined and restrained from:

                  (a)    Imitating, copying or making unauthorized use of the Emerson Radio

                         Marks, trade name or domain name either standing alone or as part of any

                         other name or mark;

                  (b)    Tkaf_ vDe]jkgf# gj vDe]jkgf QY\agw gj Yfq j]hjg\m[lagf+ [gmfl]j^]al+

                         copy, colorable imitation thereof, or any words confusingly similar, as a

                         trademark, trade name, domain name or otherwise in connection with the

                         advertising, display, sale, offering for sale or distribution of any products

                         in any medium, including but not limited to sales on the Internet, in such a

                         manner that is likely to cause confusion or mistake or to deceive

                         customers or the public or give the impression that Defendants or their

                         products or services originate with, are affiliated with, are sponsored by,

                         approved by or in any way connected to Emerson Radio;

                  (c)    Using as a nae] gj eYjc vEmerson Quiet Koolw or any variation thereon;

                  (d)    Using any name, mark or false designation of origin, or false description,

                         or performing any act which can, or is likely to, lead members of the
                                                - 36 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 37 of 42 PageID #: 37




                        public to believe that any service or product provided by Defendants is in

                        any manner associated or connected with Emerson Radio or is sold,

                        licensed, sponsored, approved or authorized by Emerson Radio;

                  (e)   Tkaf_ vEmersonw gj vEmerson Quiet Koolw as a metatag or in any hidden

                        data, including but not limited to, in conjunction with any internet

                        searching tool;

                  (f)   Tkaf_ l`] fYe] v]e]jkgfw gj #]e]jkgfima]lcggd# Ydgf] gj af [geZafYlagf

                        with any other words or letter, as a domain name on the Internet;

                  (g)   Engaging in any activity constituting unfair competition with Emerson

                        Radio, or constituting an infringement of De]jkgf QY\agxk trademarks or

                        trade name;

                  (h)   Registering or applying to register as a trademark, service mark, trade

                        name, Internet domain name or any other source identifier or symbol of

                        origin vEmerson Quiet Koolw or any other mark or name that infringes on

                        or is likely to be confused with De]jkgf QY\agxk trademarks or trade

                        name;

                  (i)   Passing off, inducing, or enabling others to sell or pass off any products

                        that do not emanate from Emerson Radio or that are not distributed under

                        the control and supervision of Emerson Radio and approved by Emerson

                        Radio for sale under the Emerson Radio Marks, as products distributed by

                        or with the approval of Emerson Radio;

                  (j)   Falsely advertising any product as Emerson Radio brand products that do

                        not emanate from Emerson Radio or that are not distributed under the


                                                - 37 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 38 of 42 PageID #: 38




                         control and supervision of Emerson Radio and approved by Emerson

                         Radio for sale under the Emerson Radio Marks;

                  (k)    Committing any act calculated to cause purchasers to falsely believe that

                         the EQK Goods are those sold under the control and supervision, were

                         sponsored, approved or connected with or guaranteed, or produced under

                         the control and supervision of Emerson Radio;

                  (l)    Shipping, importing, delivering, distributing, returning, or otherwise

                         disposing of in any manner products or inventory bearing the Emerson

                         Radio Marks without authorization by Emerson Radio; and

                  (m)    Further infringing the Emerson Radio Marks and damaging Emerson

                         Radioxk goodwill and business reputation.

        (2)       For injunctive relief canceling the registration by Defendants and/or C]^]f\Yflkx

agents for the Infringing Domain Name, and transferring the Infringing Domain Name to

Emerson Radio;

        (3)       That Defendants be required to recall from all retailers, distributors and

wholesalers, all products, packaging, promotional, and advertising material of any kind bearing

the name EMERSON and any/or other colorable imitation of the Emerson Radio Marks.

        (4)       That Defendants be required to account for all inventory or merchandise and other

materials bearing the EMERSON mark or any marks confusingly similar to the Emerson Radio

Marks and that it be required to destroy that inventory or provide it to Emerson Radio.

        (5)       That Defendants be required to supply Emerson Radio with a complete list of

persons and entities from whom they purchased, and to whom they distributed and/or sold,

products bearing the EMERSON mark, if any.


                                                - 38 -
ME1 25281383v.1
 Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 39 of 42 PageID #: 39




        (6)       That Defendants, within 30 days after service of judgment, with notice of entry

thereof upon them, be required to file with the Court and serve upon Emerson Radio a written

report under oath setting forth in detail the manner in which each has complied with paragraphs 1

through 5, above.

        (7)       That Defendants be required to make an accounting of all profits, gains, and

advantages that Emerson Quiet Kool has derived as a result of its unlawful conduct.

        (8)       That Defendants be required to pay to Emerson, in accordance with 15 U.S.C. §

1117(a) and (b), N.J. Stat. Ann. § 56:3-13.16, N.J. Stat. Ann. § 56:8-19, and all other applicable

state laws, such damages as Emerson has suffered in consequence of EQKxk infringement of the

Emerson Radio Marks and from the above-described acts of misrepresentation, unfair

competition, false designation, false advertising and unfair trade practices, including the

following:

                  (a)    Three times all gains and profits derived by Defendants from the above

described acts of misrepresentation, trademark infringement, unfair competition, false

advertising, and unfair trade practices, or, in the alternative, three times Emersonxk lost profits,

whichever is greater; and

                  (b)    @dd [gklk Yf\ Yllgjf]qkx ^]]k and costs incurred in this action including an

award of treble damages as applicable.

        (9)       Issue an Order directing the Commissioner of Trademarks to cancel Registration

No. 4,688,893.




                                                - 39 -
ME1 25281383v.1
     Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 40 of 42 PageID #: 40




             (10)    That Emerson Radio have such other and further relief as the Court deems just

   and proper in the circumstances.



                                                JURY DEMAND

             Emerson Radio demands a trial by jury of all issues triable as of right by a jury in this

   action.



Dated: July 21, 2017                              By: /s/ Mark H. Anania

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                                                   - 40 -
   ME1 25281383v.1
Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 41 of 42 PageID #: 41
     Case 1:20-cv-01652-LPS Document 1 Filed 07/21/17 Page 42 of 42 PageID #: 42




                               LOCAL CIV. R. 11.2 CERTIFICATION

           I certify that the matter in controversy between the parties is not the subject of any other

   action pending in any court or of any pending arbitration or administrative proceeding.




Dated: July 21, 2017                              By: /s/ Mark H. Anania

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                                                    42
   ME1 25281383v.1
